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               UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


                                                     Master Case No.:
IN RE GEORGIA SENATE BILL 202
                                                     1:21-MI-55555-JPB

       CONSOLIDATED/JOINT DISCOVERY STATEMENT
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I.    Background

      Plaintiffs served a subpoena for the deposition of William Bradley Carver, who

is also one of the attorneys for Intervenors in this case; Intervenors object to the

deposition. Despite attempts through written correspondence and a meet and confer,

the parties are unable to resolve their dispute and thus seek the Court’s guidance.

      A.     Plaintiffs’ Position

      Parties are entitled to discovery “regarding any nonprivileged matter that is

relevant to any party’s claim or defense and proportional to the needs of the case.” Fed.

R. Civ. P. 26(b).1 Plaintiffs seek to depose Mr. Carver concerning the sequence of

events that led to SB 202’s passage. Mr. Carver played a significant role in reforming

Georgia’s election code in early 2021, including by lobbying legislators to enact

changes GAGOP supported.2 And at least some of the language proposed by Mr.

Carver was incorporated in its entirety into drafts of SB 202. See CDR00069682. Thus,

Mr. Carver unquestionably has highly relevant information.

      Intervenors have offered shifting rationales for why Mr. Carver’s deposition is



1
  Other than their privilege arguments, Intervenors raise no arguments that the
subpoena is unduly burdensome under Federal Rule of Civil Procedure 45.
2
 See The Madison Forum, Madison Forum Brad Carver 2021 04 24 Q&A, YouTube
(May 17, 2021), https://www.youtube.com/watch?v=zwhxlFt39LQ (6:00-6:35)
(public remarks by Mr. Carver describing meetings with legislators in support of
provisions in SB 202); GAGOP_0000082 (same).

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improper, most of which they have quickly disavowed. First, they claimed the fact

discovery period had closed—it has not. They also argued that a party’s counsel could

not be deposed, citing Clough v. Richelo—a decision standing for the exact opposite

proposition. 616 S.E.2d 888, 894 (Ga. Ct. App. 2005) (noting that the court could not

determine if attorney’s testimony was necessary until attorney was deposed). Finally,

Intervenors argued that Georgia law foreclosed Mr. Carver’s deposition, citing

O.C.G.A. § 24-9-25—but that statute was repealed a decade ago. B 24, 2011 Gen.

Assemb., Reg Sess., Sec. 2 (Ga. 2011) (effective 2013). During the parties’ meet and

confer, Intervenors dropped these arguments and relied solely on the attorney-client

privilege. Now, for the first time ever in this Joint Discovery Statement, Intervenors

claim that Mr. Carver’s communications are protected under First Amendment

privilege. Neither of these arguments has merit for several reasons.

      First, Mr. Carver’s communications with legislators are not privileged. In fact,

Intervenors have produced communications between Mr. Carver and legislators

without objection. E.g., GAGOP_0002492. Second, Mr. Carver’s public statements

about SB 202 and its predecessor bills, see supra n.2, are appropriate topics for

discovery. Third, Plaintiffs are entitled to depose Mr. Carver about his advocacy efforts

in support of election legislation like SB 202, as Intervenors have not demonstrated

that communications related to Mr. Carver’s role as the chair of the Election



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Confidence Task Force or as a lobbyist for the GAGOP are privileged. See ECF No.

434 at 2-4. Tellingly, Intervenors did not invoke the First Amendment privilege in their

objections to the subpoena or in the parties’ meet and confer, and their conclusory

discussion of the privilege in this joint statement fails to explain why it would foreclose

inquiry into Mr. Carver’s lobbying efforts, which he has spoken about publicly.

      Finally, a 30(b)(6) deposition of GAGOP cannot replace Mr. Carver’s

deposition. Mr. Carver played a singularly important role in drafting proposed

language and discussing bills with key legislators like Rep. Barry Fleming. There are

also email exchanges related to this advocacy that do not include any GAGOP

representatives. E.g., GAGOP_0002306. And even where there is some overlap

between an individual deponent’s knowledge and a 30(b)(6) deponent’s testimony,

courts have nonetheless permitted both depositions to go forward. See, e.g., Golden v.

Stein, No. 418CV00331JAJCFB, 2020 WL 13553710, at *6 (S.D. Iowa Apr. 14, 2020)

(allowing individual and corporate deposition of same designee despite objections of

duplication); see also Fed. R. Civ. P. 30(b)(6) (“This paragraph (6) does not preclude

a deposition by any other procedure allowed by these rules.”). Plaintiffs are thus

entitled to explore these highly relevant communications and advocacy efforts with

Mr. Carver.




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      B.     Intervenors’ Position

      Mr. Carver is lawyer. He was first licensed in 1999. His Georgia Bar number is

115529. He is not a party in this case, but he represents parties in this case. Plaintiffs

want to depose him because the GAGOP retained Hall Booth Smith, P.C., and

specifically Mr. Carver, to assist it after the 2020 runoff. In his role as an attorney, Mr.

Carver chaired a committee of GAGOP leaders to prepare a package of election

proposals. And in his role as an attorney, Mr. Carver provided legal advice related to

those proposals.

      The GAGOP objects to Mr. Carver’s deposition. This Court should either quash

the subpoena, let the parties brief whether the subpoena should be quashed, or strictly

limit the topics on which Mr. Carver can be deposed.

      As an initial matter, subpoenas to non-parties are disfavored. See Jordan v.

Comm'r, Mississippi Dep't of Corr., 947 F.3d 1322, 1337 (11th Cir. 2020). Nonparties

should not be deposed when nearly all the same information could be obtained from a

party. A non-party subpoena should be especially disfavored when that non-party is

an attorney for a party in the case. Given the confidential relationship that an attorney

has with his client and the risk of adversity that a deposition creates, litigants need a

special reason to depose another party’s attorney. The slippery slope is obvious.

Plaintiffs recently subpoenaed another lawyer for a party in this case—Bryan Tyson,



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who represents the State of Georgia—based on his alleged role in the legislative

process surrounding SB202. And under Plaintiffs’ logic, intervenors could have

deposed one of Plaintiffs’ lawyers, on the ground that they worked closely with state

legislators on their opposition to SB202.

     Plaintiffs cannot come close to justifying their unusual subpoena. The subpoena

is not proportional, especially under the standard for third-party discovery. Mr.

Carver’s personal views about SB202 are not relevant, since Mr. Carver is not the

Georgia legislature or even a legislator. And Plaintiffs already have the nonprivileged

documents they requested from the GAGOP. Any questions they have about those

documents—or other relevant matters—can be asked in a 30(b)(6) deposition of the

GAGOP, an actual party to this case. Indeed, Plaintiffs recently noticed a 30(b)(6)

deposition of the GAGOP. Their speculation that a 30(b)(6) witness would lack

knowledge that only Mr. Carver has is unfounded.

     The deposition of Mr. Carver is also not proportional because almost any

information he holds is privileged. Much of the GAGOP’s position on this topic is set

out in its statement related to the document production, which it incorporates here. In

short, Mr. Carver provided legal services to the GA GOP related to SB 202, including

legal advice about proposed election reforms. Having Mr. Carver sit and receive

questions he can’t answer is not a proportional use of discovery.



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     Even if it were not subject to the attorney-client privilege, testimony regarding

the political activity of Mr. Carver and the GA GOP is privileged under the First

Amendment—a point Plaintiffs’ counsel have made many times in the depositions of

their clients. “The Supreme Court has long recognized that compelled disclosure of

political affiliations and activities can impose just as substantial a burden on First

Amendment rights as can direct regulation.” Perry v. Schwarzenegger, 591 F.3d 1147,

1160 (9th Cir. 2010). Here, Mr. Carver’s testimony on these matters would chill

associational rights. Mr. Carver has already been subjected to harassment—a

coordinate, well-funded effort to get him disbarred.3 Though that bar complaint was

unanimously dismissed, what should have been a confidential process was leaked to

the press in an effort to harm Mr. Carver’s career.4 Here, the same risk exists, and it

extends to the GAGOP, its members, and its future activities.

     At a minimum, this Court should impose strict limits on the topics allowed at

Mr. Carver’s deposition. Mr. Carver’s testimony is only possibly relevant to the extent

it reveals the legislature’s motives for passing SB202. Plaintiffs thus should be limited

to Mr. Carver’s communications with Georgia legislators. The GAGOP welcomes the

opportunity to brief these issues more fully in a motion to quash.


3
  https://www.axios.com/2022/03/07/trump-election-lawyers-disbar
4
  To the extent necessary, Mr. Carver will execute an affidavit confirming the facts as
stated herein.

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Date: February 27, 2023

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times New

Roman and a point size of 14.




Dated: February 27, 2023                          /s/ Uzoma N. Nkwonta
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                           CERTIFICATE OF SERVICE

      I hereby certify that on February 27, 2023, I electronically filed this document

with the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to the attorneys of record.



Dated: February 27, 2023                              /s/ Uzoma N. Nkwonta
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